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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

  MARK GEMMELL,
                                                             Case No.: 1:24-cv- 00579
          Plaintiff,
                                                             Judge Rebecca R. Pallmeyer
  v.
                                                             Magistrate Judge Beth W. Jantz
  THE PARTNERSHIPS AND UNINCORPORATED
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                 SATISFACTION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on March 13,2024 [31] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                  DEFENDANT
               168                              Jingmao Home Textile


         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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DATED: August 23, 2024                                Respectfully submitted,



                                                     Keith A. Vogt, Esq. (Bar No. 6207971)
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                                                     Chicago, Illinois 60604
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                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF(S)




                                                         23 of August,
Subscribed and sworn before me by Keith A. Vogt, on this _

2024. Given under by hand and notarial seal.




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                                               COUNTY OF --=-----------


                                                                GRISELDA DELGADO
                                                                  OFFICIAL SEAL
                                                   • N.otary Public, State of Illinois
                                                               My Commission Expires
                                                                  October 05, 2026
